Opinion filed August 21, 2024




                                      In The


        Eleventh Court of Appeals
                                    ___________

                                No. 11-24-00194-CV
                                    ___________

                 GEORGE ALOIS MEISSNER, Appellant
                                        V.
                 LORNA BROOKE MEISSNER, Appellee


                     On Appeal from the 326th District Court
                              Taylor County, Texas
                        Trial Court Cause No. 23-16150N


                      MEMORANDUM OPINION
      Appellant has filed a pro se notice of appeal from the trial court’s temporary
orders in the divorce proceeding below. We dismiss the appeal.
      When this appeal was docketed, the clerk of this court wrote Appellant and
informed him that it did not appear that the order from which he was attempting to
appeal was a final, appealable order. We requested that Appellant respond and show
grounds to continue the appeal, and we informed Appellant that the appeal was
subject to dismissal. See TEX. R. APP. P. 42.3. Appellant has not filed a response.
        In a suit for the dissolution of a marriage, temporary orders are not final or
appealable, and such orders are “not subject to interlocutory appeal” unless it is an
order appointing a receiver. TEX. FAM. CODE ANN. § 6.507 (West 2020); Perkins v.
Perkins, No. 03-21-00135-CV, 2021 WL 2816008, at *1 (Tex. App.—Austin July 7,
2021, pet. denied). Thus, a court of appeals does not have jurisdiction to entertain
an appeal from an interlocutory temporary order when, as here, the order is made in
a suit for the dissolution of the marriage, and it is not an order appointing a receiver.
See FAM. 6.507; Dancy v. Daggett, 815 S.W.2d 548, 549 (Tex. 1991); Perkins,
2021 WL 2816008, at *1. Accordingly, we must dismiss his appeal. 1 See TEX. R.
APP. P. 42.3(a); Perkins, 2021 WL 2816008, at *1–2.
        We dismiss this appeal for want of jurisdiction.




                                                           W. BRUCE WILLIAMS
                                                           JUSTICE

August 21, 2024
Panel consists of: Bailey, C.J.,
Trotter, J., and Williams, J.




        1
          We note that, even if the trial court’s order was appealable, Appellant filed his pro se notice of
appeal 142 days after the trial court signed the order. Absent a timely notice of appeal, this court is without
jurisdiction to consider an appeal. See TEX. R. APP. P. 26.1; see also Wilkins v. Methodist Health Care
Sys., 160 S.W.3d 559, 564 (Tex. 2005); Garza v. Hibernia Nat’l Bank, 227 S.W.3d 233, 233–34 (Tex.
App.—Houston [1st Dist.] 2007, no pet.); see Verburgt v. Dorner, 959 S.W.2d 615, 617 (Tex. 1997).
                                                      2
